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UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA
UNITED STATES OF AMERICA
v. Criminal No. 85-33

GEORGE A. NADER
O R D E R

This comes before the Court on the Government's Motion
for Reconsideration of the Court's Order dismissing the claims
against the defendant. After giving careful<consideration to
the motion, the opposition thereto and the record in this case,
the Court concludes that the motion for reconsideration should
be denied for the reasons set forth in the memorandum to be
filed.

In view of the above, it is hereby

ORDERED that the Government's motion for reconsideration

is denied.

Dated: Nov 2 4 1956 nn ._-:)/

 

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/ oHN GARRE'TT PENN
” United States District Judge

 

